                                          Case 4:13-md-02420-YGR Document 855 Filed 09/30/15 Page 1 of 1




                                   1

                                   2

                                   3
                                                                        UNITED STATES DISTRICT COURT
                                   4
                                                                      NORTHERN DISTRICT OF CALIFORNIA
                                   5

                                   6

                                   7

                                   8      IN RE: LITHIUM ION BATTERIES                   Case No.: 13-MD-2420 YGR
                                          ANTITRUST LITIGATION
                                   9                                                     ORDER REQUIRING RESPONSE TO MOTION
                                                                                         FOR RELIEF FROM NON-DISPOSITIVE
                                  10                                                     PRETRIAL ORDER OF MAGISTRATE JUDGE
                                          This Order Relates to:
                                  11
                                          All Direct and Indirect Purchaser
                                          Actions
Northern District of California




                                  12
 United States District Court




                                  13

                                  14          Defendants LG Chem Ltd. and LG Chem America, Inc. have filed a motion for relief from a
                                  15   non-dispositive pretrial order of Magistrate Judge Ryu relating to the anticipated deposition of Seok
                                  16   Hwan Kwak. (Dkt. No. 852.) The Court hereby orders plaintiffs to file a response of no more than
                                  17   five (5) pages as soon as practicable.
                                  18          IT IS SO ORDERED.
                                  19   Dated: September 30, 2015                       _______________________________________
                                                                                               YVONNE GONZALEZ ROGERS
                                  20                                                      UNITED STATES DISTRICT COURT JUDGE
                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28
